
710 S.E.2d 3 (2011)
TOWN OF MIDLAND, Plaintiff
v.
Harry T. MORRIS and Maralyn R. Morris, Defendants and
Town of Midland, Plaintiff
v.
John S. Wagner and Anne D. Wagner, Defendants and
Town of Midland, Plaintiff
v.
Beverly F. Chapman, Defendant and
Town of Midland, Plaintiff
v.
Brenda Seaford, Harold Gray Seaford &amp; Ben F. Fisher, Defendants and
Town of Midland, Plaintiff
v.
Jimmy Ray Wilkinson and Gilda S. Wilkinson, Defendants and
Town of Midland, Plaintiff
v.
Vaudrey Mesimer and Edith Mesimer, Defendants and
Town of Midland, Plaintiff
v.
Dorothy Drescher Black, Defendant and
Town of Midland, Plaintiff
v.
Marlene T. Cook and Jennings R. Cook, Defendants and
Town of Midland, Plaintiff
v.
Albertine L. Smith, Defendant and
Town of Midland, Plaintiff
v.
Wilmer Melton, Jr. and Harriet L. Melton, Defendants and
Town of Midland, Plaintiff
v.
Billy James, Norris James and Amelia Goodnight, Defendants and
Town of Midland, Plaintiff
v.
Concord Police Club, Inc., Defendant and
Town of Midland, Plaintiff
v.
Theron Keith Honeycutt and Ann Nash Honeycutt, Defendants and
Town of Midland, Plaintiff
v.
Theron Keith Honeycutt and Ann Nash Honeycutt, Defendants and
Harry T. Morris and Maralyn R. Morris, Plaintiffs
v.
Town of Midland, Defendant and
Jimmy Ray Wilkinson and Gilda S. Wilkinson, Plaintiffs
v.
Town of Midland, Defendant and
Vaudrey Mesimer and Edith Mesimer, Plaintiffs
v.
Town of Midland, Defendant and
Marlene T. Cook and Jennings R. Cook, Plaintiffs
v.
Town of Midland, Defendant and
Albertine L. Smith, Trustee, Plaintiff
v. *4 
Town of Midland, Defendant and
Billy James, Norris James and Amelia Goodnight, Plaintiffs
v.
Town of Midland, Defendant and
Dorothy Drescher Black, Plaintiff
v.
Town of Midland, Defendant and
Concord Police Club, Inc., Plaintiff
v.
Town of Midland, Defendant.
No. 78P11.
Supreme Court of North Carolina.
April 7, 2011.
Keith J. Merritt, Charlotte, for Harry T. Morris, et al.
Fletcher Hartsell, Jr., Concord, and M. Gray Styers, Jr., Raleigh, for Town of Midland.
James Scarbrough, for John S. Wagner, et al.

ORDER
Upon consideration of the petition filed on the 22nd of February 2011 by Defendants (John S. Wagner and Anne D. Wagner) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 7th of April 2011."
JACKSON, J. recused.
